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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                     BEAUFORT DIVISION

OLDFIELD CLUB, FOR ITSELF AND                    )   Civil Action No. 9:17-cv-00452-DCN
ON BEHALF OF ITS MEMBERS,                        )
                                                 )
                                   Plaintiffs,   )
                                                 )
               vs.                               )          NOTICE OF REMOVAL
                                                 )
TI OLDFIELD DEVELOPMENT, LLC,                    )
AND TI OLDFIELD OPERATIONS, LLC,                 )
BY AND THROUGH THEIR                             )
RESPECTIVE BOARD OF DIRECTORS                    )
JOHN DOE 1-10, INDIVIDUALLY AND                  )
AS DIRECTORS BETWEEN THE TIME                    )
PERIODS 2010-2015 (PRE-TURNOVER);                )
OLDFIELD HOLDINGS GA, LLC;                       )
PHILLIP GALBREATH,                               )
                                                 )
                                Defendants.      )
                                                 )

       TO: THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF SOUTH
       CAROLINA, BEAUFORT DIVISION:

       Pursuant to 28 U.S.C. §§ 1441 and 1446, the above-named defendants TI Oldfield

Development, LLC (“TIOD”), TI Oldfield Operations, LLC (“TIOO”), Oldfield Holdings GA, LLC

(“Oldfield Holdings”), and Phillip Galbreath (“Galbreath”) (collectively, “Defendants”), hereby

remove this action from the Court of Common Pleas, Beaufort County, State of South Carolina,

where it was originally filed by Plaintiff Oldfield Club (the “Club”), to the United States District

Court for the District of South Carolina, Beaufort Division. Pursuant to 28 U.S.C. § 1446(a),

copies of all process and pleadings served upon Defendant in this action are attached hereto as

Exhibit A.
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                 PROCEDURAL BACKGROUND AND RELEVANT FACTS

       1.        On January 19, 2017, the Club commenced this action by filing the Summons and

Complaint.

       2.        On January 23, 2017, Defendants’ counsel accepted service of a copy of the

Summons and Complaint.

                 STATEMENT OF STATUTORY BASIS FOR JURISDICTION

       3.        This matter is removable pursuant to 28 U.S.C. § 1441(a) and (b) as a civil action

brought in a State court which the district courts of the United States have original jurisdiction.

This Court is “the district court of the United States for the district and division embracing the

place where such action is pending.” See 28 U.S.C. § 1441(a).

       4.        This action is within the original jurisdiction of the U.S. District Court pursuant to

28 U.S.C. § 1332. This statute provides, in pertinent part, that “[t]he district courts shall have

original jurisdiction of all civil actions where the matter in controversy exceeds the sum or value

of $75,000, exclusive of interest and costs, and is between . . . citizens of different States.” 28

U.S.C. § 1332(a)(1).        As discussed in detail below, this action satisfies both statutory

requirements.

Amount in Controversy

       5.        The Complaint does not specify or limit the amount of damages the Club seeks,

but the Club requests several categories of compensatory damages, including but not limited to

“significantly    increased   additional    assessments,”    “extensive   shortfalls   in   accounts,”

“considerable attorneys’ fees and costs,” (Compl. ¶ 31), “loss of the Greeter’s Store property,”

“expenses of hiring a and training a new general manager,” expenses associated with defending a



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lawsuit by the former manager, (Id. at 43), fees and costs associated with unwinding the

Greeter’s Store transaction, costs of relocating services previously provided there, loss of

goodwill, and costs to recruit and replace the manager (Id. at 49). Upon information and belief,

the compensatory damages alleged exceed $75,000. See Mattison v. Wal-Mart Stores, Inc., No.

6:10-cv-01739, 2011 U.S. Dist LEXIS 11634, at *2 (D.S.C. Feb. 4, 2011) (“When a specific

amount is not specified in the complaint, the object which is sought to be accomplished by the

plaintiff may be looked to in determining the value of the matter in controversy.”).

       In addition, the Club requests punitive damages and its attorneys’ fees. (Id. at Prayer). A

“claim for punitive damages alone makes it virtually impossible to say that the claim is for less

than the jurisdictional amount.” Woodward v. Newcourt Comm. Fin. Corp., 60 F. Supp. 2d 530,

532 (D.S.C. 1999) (emphasis added); see also, Thompson v. Victoria Fire & Cas. Ins. Co., 32 F.

Supp. 2d 847, 847-48 (D.S.C. 1999) (holding amount in controversy met where complaint sought

punitive damages, consequential damages, and attorneys’ fees and costs beyond the $25,000.00

in actual damages claimed). Thus, the amount in controversy requirement is satisfied.

Citizenship of the Parties

       6.      The Club is a corporation located in South Carolina and organized under the laws

of the State of South Carolina. (Compl. ¶ 1). The Club is therefore a resident of the State of

South Carolina for purposes of 28 U.S.C. § 1332.

       7.      Each of the Defendants is a resident of the State of Georgia. Defendants TI

Oldfield Development, LLC, TI Oldfield Operations, LLC and Oldfield Holdings GA, LLC are

limited liability companies (“LLCs”) organized under the laws of the State of Georgia. The

members each of these LLCs are SF Operations, LLC, Creola Holdings, Inc. and Mariner

Holdings, LLC. SF Holdings, LLC is a Georgia LLC, and its members are individual residents



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of the State of Georgia. Creola Holdings, Inc. is a Georgia corporation with its principal place of

business in Georgia. Mariner Holdings, LLC is Georgia LLC, and its members are individual

residents of the State of Georgia.

       8.      Defendant Phillip Galbreath is resident of the State of Georgia.

       9.      Fictitiously-named defendants are not considered for purposes of determining

whether diversity jurisdiction exists. However, upon information and belief, the Club intended to

designate as “John Doe” the current and former members of the Club’s Board of Directors

appointed by TI Oldfield Operations, LLC, all of whom are individual residents of the State of

Georgia.

       10.     Because the citizenship of all Defendants is diverse from the citizenship of the

Club, the diversity of citizenship requirement of 28 U.S.C. § 1332 is satisfied.

                                 TIMELINESS OF REMOVAL

       11.     This Notice of Removal is timely because it has been made within 30 days after

Defendants’ receipt of the Summons and Complaint, attached hereto as Exhibit A. See 28 U.S.C.

§ 1446(b).

                     JOINDER OR CONSENT BY ALL DEFENDANTS

       12.     All Defendants hereby join in this Notice of Removal.

                                            NOTICE

       13.     Pursuant to 28 U.S.C. § 1446(d), Defendants have given notice of the filing of this

Notice of Removal to the Club as reflected in the Certificate of Service below, and a copy of this

Notice of Removal is being filed with the Clerk of the Beaufort County Court of Common Pleas.




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                   REQUEST FOR BRIEFING AND ORAL ARGUMENT

       14.     In the event any question arises as to the propriety of removal of this matter,

Defendants request the opportunity to present briefs and oral argument in support of their

position that removal of this action is proper.

                                          CONCLUSION

       WHEREFORE, pursuant to 28 U.S.C. §§ 1332, 1441(a), and 1441(b), this action should

proceed in the United States District Court for the District of South Carolina, Beaufort Division,

as an action properly removed thereto.




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February 15, 2017




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